         Case 23-12309-amc          Doc 63-1 Filed 10/06/23 Entered 10/06/23 10:52:56                        Desc
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                                   UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                     : Chapter 11


Brith Sholom Winit, LP                                     : Bankruptcy 23−12309−amc
              Debtor(s)

                               NOTICE OF FILING OF TRANSCRIPT
                   AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION




A transcript of the proceeding held on 9/13/23 was filed on 10/6/23.

The following deadlines apply:

The parties have until 10/13/23 (seven (7) calendar days from the date of filing of the transcript) to file with the
court a Notice of Intent to request Redaction of this transcript. The deadline for filing a request for redaction is
10/27/23 (21 days from the date of filing of the transcript).

If a Request for redaction is filed, the redacted transcript is due 11/6/23 (31 days from the date of filing of the
transcript).

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is 1/4/24 (90 calendar days from the date of filing of the transcript) unless extended by
court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber (contact the court for
contact information) or you may view the document at the clerk's office public terminal.


                                                           For the Court



Date: 10/6/23                                              Timothy B. McGrath
                                                           Clerk of Court


                                                           By:Tasha D Dawsonia
                                                                    Deputy Clerk
